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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


In re:                                                *
                                                      *
DAVID NEWTON WEBSTER, II,                             *       Case No. 18-14048-KHK
                                                      *       Chapter 7
                                                      *
         Debtor.                                      *


                                 RESIGNATION OF TRUSTEE


         The undersigned, as acting Chapter 7 Trustee in the above captioned case, hereby certifies

that after appropriate inquiry into the affairs of the Debtor, he has determined that circumstances

exist which render him not a disinterested person in this case, and which could possibly constitute a

conflict of interest.

         Therefore, the undersigned respectfully resigns as Trustee in the above captioned case.


September 3, 2019
Date                                                   /s/ Donald F. King
                                                       DONALD F. KING, TRUSTEE
                                                       1775 Wiehle Avenue, Suite 400
                                                       Reston, Virginia 20190
                                                       Direct:   703-218-2116
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                                                       Email:    donking@ofplaw.com

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